        Case 3:17-cv-00439-JWD-EWD              Document 246        10/27/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


 BLAIR IMANI, ET AL.                                                  CIVIL ACTION

 VERSUS
                                                                      NO. 17-439-JWD-EWD
 CITY OF BATON
 ROUGE, ET AL.
                                             ORDER

        The deadlines established below are based on the parties’ and are final deadlines. In

 accordance with Federal Rule of Civil Procedure 16(b), the following deadlines are established:

        1.     The deadline to join other parties or to file a motion for leave to amend the pleadings
               is November 30, 2020.

        2.     Discovery must be completed as follows:

               a.      Exchanging initial disclosures required by F.R.C.P. 26(a)(1): N/A

               b.      Filing all discovery motions and completing all discovery except experts:
                       July 16, 2021

               NOTE: Any motions filed regarding discovery must be accompanied by a
               certificate of counsel for the moving party, stating that counsel have conferred in
               person or by telephone for purposes of amicably resolving the issues and stating
               why they are unable to agree or stating that opposing counsel has refused to so
               confer after reasonable notice.

               c.      Disclosure of identities and resumés of experts:
                       Plaintiff(s):          April 1, 2021
                       Defendant(s):          May 1, 2021

               d.      Expert reports must be submitted to opposing parties as follows:
                       Plaintiff(s):         April 15, 2021
                       Defendant(s):         May 15, 2021

               e.      Discovery from experts must be completed by July 30, 2021.

        3.     Deadline to file dispositive motions and Daubert motions: September 15, 2021




JURY
         Case 3:17-cv-00439-JWD-EWD                      Document 246           10/27/20 Page 2 of 3




         4.       Deadline to file pre-trial order: January 5, 20222

                  Prior to the filing of the pretrial order, the parties will exchange or make available
                  for inspection all exhibits which the parties will or may introduce at trial.

         5.       Deadline to file motions in limine: February 2, 2022. Responses to motions in
                  limine shall be filed within the time period provided by the local rules.

         6.       Deadline to file an affidavit of settlement efforts: February 16, 2022

         7.       Pre-trial conference date: January 20, 2022 at 2:30 p.m. in the chambers of the
                  Honorable John W. deGravelles.

         8.       Deadline to submit joint jury instructions, voir dire, verdict forms, and trial briefs
                  to the presiding judge: March 9, 2022

                  The information regarding the Honorable John W. deGravelles’ pretrial order
                  may be found on the court's website at (http://www.lamd.uscourts.gov) under
                  “Judges’ Info.”

         9.       A 5-day jury trial is scheduled for 9:00 a.m. beginning on March 28, 2022 in
                  Courtroom 1.

         The time limits set forth in this order shall not be modified except by leave of court upon

a showing of good cause. Joint, agreed or unopposed motions to extend scheduling order deadlines

will not be granted automatically. All motions to extend scheduling order deadlines must be

supported by facts sufficient to find good cause as required by Rule 16, Fed.R.Civ.P. Extensions

of deadlines governing discovery must be supported with information describing the discovery

already completed, what necessary discovery remains, the parties’ efforts to complete the

remaining discovery by the deadline, and any additional information showing that the parties have

diligently pursued their discovery. Further, a motion to extend any deadline set by this Order must

be filed before its expiration.



2
  Motions to extend or otherwise modify this date and the dates/deadlines that follow shall be directed to the district
judge.
        Case 3:17-cv-00439-JWD-EWD               Document 246         10/27/20 Page 3 of 3




        Pursuant to Local Civil Rule 16(c), whenever a civil case is settled or otherwise disposed

of, counsel shall immediately file a Joint Notice of Settlement, signed by counsel for Plaintiff, into

the record. Additionally, counsel shall immediately inform the Clerk's office, the Judge to whom

the case is assigned, and shall comply with LR45(b) relative to all persons subpoenaed as

witnesses. If a civil case is settled as to fewer than all of the parties or all of the claims, the Joint

Notice shall also set forth the remaining parties and unsettled claims. The Joint Notice may also

include a request for a conditional order of dismissal, allowing for reinstatement of the matter if

the settlement is not consummated within the time stated in the order of dismissal.

        Parties are directed to consult the Middle District’s Administrative Procedures which

contains additional mandatory filing rules and procedures. The Administrative Procedures are

available for viewing and download on the court’s website (http://www.lamd.uscourts.gov) under

“E-Filing,” “CM/ECF Info,” “Administrative Procedures.”

        Signed in Baton Rouge, Louisiana, on October 27, 2020.


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                                                ERIN WILDER-DOOMES
                                                UNITED STATES MAGISTRATE JUDGE
